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 7                                  UNITED STATES DISTRICT COURT
 8                            SOUTHERN DISTRICT OF CALIFORNIA
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     MS. L, et al,                             Case No. 18-cv-428 DMS MDD
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                     Petitioners-Plaintiffs,
11
           vs.                                 ORDER GRANTING JOINT
12                                             STIPULATED EXTENSION OF TIME
   U.S. IMMIGRATION AND CUSTOMS                FOR DEFENDANTS TO ANSWER
13 ENFORCEMENT, et al,                         PLAINTIFFS’ THIRD AMENDED
                                               COMPLAINT
14                   Respondents-Defendants.
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17         Before the Court is the parties’ Stipulated Extension of Time for Respondent-
18 Defendants to Answer Petitioners-Plaintiffs’ Third Amended Complaint. IT IS HEREBY
19 ORDERED that Respondent-Defendants answer to Petitioner-Plaintiffs’ third amended
20 complaint shall be due Friday, November 23, 2018.
21   Dated: October 23, 2018
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